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 UNITED STATES DISTRICT COURT                    denying Gaulden's motions to appoint
 SOUTHERN DISTRICT OF GEORGIA                    counsel, to compel, and motion for hearing).
      SAVANNAH DIVISION
                                                     Gaulden's appeal of this Court's March
UNITED STATES OF AMERICA,                        6. 2012 denial of a motion to reduce
                                                 sentence, however, came a minimum of
V.                     4: 99-cr-OOI              three days after the fourteen day appeal
                                                 period prescribed by Federal Rule of
TERRELL GAULDEN,                                 Appellate Procedure 4(b). 1 Neither in the
                                                 notice of appeal itself, ECF No. 305, nor any
Defendant.
                                                 subsequent filing has Gaulden offered any
                  ORDER                          reason—excusable, reasonable, or
                                                 otherwise—for his late filing. The Court
    On March 29, 2012, Terrell Gaulden           declines to imply one and so determines
tiled a notice of appeal of this Court's         Gaulden untimely appealed without any
March 6, 2012 denial of his motion to            excusable neglect or good cause to mitigate
reduce sentence. See ECF Nos. 301; 305,          his lack of punctuality.
Although Gaulcien untimely filed that
appeal, he did so within thirty days after the       The Clerk is ORDERED to forward a
expiration of the appeal period. See Fed. R.     copy of this Order to the Eleventh Circuit
App. P. 4(b)(1)(A)(1); United Slates v.          for inclusion with Appeal Number 12-
Lopez, 562 F.3d 1309, 1313-14 (11th Cir.         I 1702-FF.
2009). The Eleventh Circuit therefore
construed his notice of appeal as a motion
                                                 This          y of July 2013.
for extension of time and remanded the
proceedings to this Court for a determination
as to whether excusable neglect or good
cause exist for Gaulden's untimeliness. See      B. AVANT EDENFIELD, JUGE
ECF No. 345; Fed. R. App. P. 4(b)(4). The        UNITED STATES DISTRI9'f' COURT
Court now decides that issue.                    SOUTHERN DISTRICT O GEORGIA

   Terrell Gaulden and his brother Derrell
                                                   In his notice of appeal, Gaulden claims to have
are accomplished—at least in terms of            received the order denying his motion to reduce
quantity of filings, if not the success of the   sentence on March 9, 2012, ECF No. 305 at 4.
same—litigators. Since his Conviction in         Measuring from that date, Gautden had until March
                                                 23, 2012 to place his notice of appeal in the hands of
1999 on narcotics charges, Gaulden has           prison authorities. See Fed, R. App. P. 4(b)(I)(A)(i)
inundated this Court with filings in both this   (requiring the filing of notices of appeal within
                                                 fourteen days of entry of the order being appealed)
case and the associated habeas proceedings.      United States v. Glover. 686 F.3d 1203, 1205 (11th
Perhaps most pertinent, Gaulden has timely       Cir. 2012) (holding that pro se prisoner filings are
appealed many of this Court's orders. See,       deemed filed on the day they are delivered to prison
                                                 authorities). But Gaulden did not give the notice of
e.g., ECF No. 350 (appealing an order            appeal to prison authorities until at least March 26,
                                                 2012—the date he signed the certificate of service
                                                 accompanying the notice. See ECF No. 205 at 5.
